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                    EXHIBIT ''B ''
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a        lhe Mad Doxer said:                                                      ju[y 1 7, 2018   at 3,:48 pm



Even Nazrs need to see the dentist, too!!

Van Dykets    newest and bestest client i s Carrolton, TX dentist Dr. Darian Hampton,
wh ose offi ce is located at 36'1 O N Josey ln Suite 104, Carrollton, TX 75007. Phone:
(972) 395-9292.

His \¥eb site is~ ~.~P..;//.~~.~.~.~.~~~.P..!g:~.~~.~.~~.~.l.~.~g~~/.

Does Dr. Hampt on knov\f he has a Nazi for a lawy·eir? Reg1ardless, the good doctor
has much BIGGER problerns to \JVorry about. A re.cent check of his credit sho\"IS he
O\fi/es a MASSI VE amount of n1or1 ey to a flnanc-e con1 pany in Pennsylvania n

I wond er if there is a sexual exchange for legal sendces going on ttere, eh?
                             ,,   .
FUN FACT: Dr. Harnpton is a knee-gro111 H
